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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

RALPH HOLMES, et al.,
                                                              Case No. 11 C 2961
               Plaintiffs,

         v.                                                   Honorable Marvin E. Aspen
SALVADOR A. GODINEZ,
                                                              Magistrate Judge Sheila Finnegan
               Defendant.


              PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL

       Pursuant to Federal Rule of Civil Procedure 26(c), Local Rule 26.2 in accordance with

the Agreed Confidentiality Order entered November 2, 2012 (ECF No. 70), Plaintiffs move this

Honorable Court for leave to file under seal: (1) certain exhibits accompanying Plaintiffs’

Opposition to Defendant’s Motion for Summary Judgment; (2) portions of Plaintiffs’ Response

to Defendant’s Statement of Uncontested Facts and Additional Facts describing those exhibits

and certain deposition testimony; and (3) as well as portions of Plaintiffs’ Opposition to

Defendant’s Motion for Summary Judgment describing those exhibits and certain deposition

testimony. In support of this motion, Plaintiffs state as follows:

       1.      On November 2, 2012, this Court entered an Agreed Confidentiality Order

governing discovery in this case. In the course of exchanging documents as part of the discovery

process, Defendant has produced documents designated “Confidential” or “Attorney Eyes Only”

pursuant to paragraphs 2-3 of the Agreed Confidentiality Order, such that the documents are to

be protected from disclosure to the public. The parties have also conducted depositions, portions

of which have also been designated “Confidential” or “Attorney Eyes Only” under the Agreed

Confidentiality Order.
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       2.     Plaintiffs’ Opposition to Defendant’s Motion for Summary Judgment and

Plaintiffs’ Response to Defendant’s Statement of Uncontested Facts and Additional Facts attach

as exhibits and reference information obtained from documents designated as “Confidential” or

“Attorney Eyes Only” by the Defendants, and also references deposition testimony designated as

“Confidential” or “Attorney Eyes Only.” These documents and depositions are as follows:

              a. Exhibit 3 is IDOC Administrative Directive 04.03.101 (“Offender Physical

                  Examination”) which was marked Confidential under the protective order at

                  the time it was produced by Defendant.

              b. Exhibit 4 is the deposition transcript of IDOC Agency ADA Compliance

                  Officer Patrick Keane, which at the time of the deposition, Defendant’s

                  counsel asked that it be marked Confidential under the protective order.

              c. Exhibit 8 is the deposition transcript of Stateville ADA Coordinator Kevin

                  Senor, which at the time of the deposition, Defendant’s counsel asked that it

                  be marked Confidential under the protective order.

              d. Exhibit 9 is the deposition transcript of Dixon ADA Coordinator Troy

                  Hendrix, which at the time of the deposition, Defendant’s counsel asked that it

                  be marked Confidential under the protective order.

              e. Exhibit 11 is the deposition transcript of former Graham ADA Coordinator

                  Cassandra Davis, which at the time of the deposition, Defendant’s counsel

                  asked that it be marked Confidential under the protective order.

              f. Exhibit 12 is the deposition transcript of former IDOC Chief of Programs and

                  Services Deborah Denning, which at the time of the deposition, Defendant’s

                  counsel asked that it be marked Confidential under the protective order.
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         g. Exhibit 13 is the deposition transcript of former IDOC Deputy Chief Legal

             Counsel Rachel McKinzie, which at the time of the deposition, Defendant’s

             counsel asked that it be marked Confidential under the protective order.

         h. Exhibit 14 is the deposition transcript of IDOC’s 30(b)(6) witness Sandy

             Funk, which at the time of the deposition, Defendant’s counsel asked that it be

             marked Confidential under the protective order.

         i. Exhibit 34 is Plaintiffs’ Deposition Exhibit 327, an internal IDOC email

             produced as Confidential under the protective order.

         j. Exhibit 35 is the deposition transcript of IDOC Adult Basic Education

             Administrator Christine Boyd, which at the time of the deposition,

             Defendant’s counsel asked that it be marked Confidential under the protective

             order.

         k. Exhibit 36 is a February 17, 2015 Letter from Plaintiffs’ counsel to

             Defendant’s counsel including confidential information relating to Plaintiff

             Ralph Holmes.

         l. Exhibit 38 is the deposition transcript of IDOC Medical Director Louis

             Shicker, which at the time of the deposition, Defendant’s counsel asked that it

             be marked Confidential under the protective order.

         m. Exhibit 40 is the deposition transcript of Graham back-up ADA Coordinator

             Susan Griffin, which at the time of the deposition, Defendant’s counsel asked

             that it be marked Confidential under the protective order.
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                n. Exhibit 41 is Plaintiffs’ Deposition Exhibit 195, a Wexford Policy, which was

                       marked Confidential under the protective order at the time it was produced by

                       Defendant.

                o. Exhibit 47 is the deposition transcript of Western Illinois ADA Coordinator

                       Forrest Ashby, which at the time of the deposition, Defendant’s counsel asked

                       that it be marked Confidential under the protective order.

                p. Exhibit 57 is the deposition transcript of IDOC Manager of Office of Inmate

                       Issues Terri Anderson, which at the time of the deposition, Defendant’s

                       counsel asked that it be marked Confidential under the protective order.

        3.      Good cause exists for filing the above referenced exhibits and deposition

testimony under seal. The exhibits and testimony reference confidential information relating to

Plaintiffs or confidential information relating to internal IDOC procedures, which IDOC has

described as non-public and confidential, and identify particular IDOC personnel as having

involvement and responsibility with regard to certain IDOC practices and procedures, disclosure

of which, according to IDOC, may expose the personnel to safety concerns and other risks

associated with their work in a prison environment.

        4.      Placing the above referenced exhibits and deposition testimony under seal and

redacting references to such information in Plaintiffs’ Opposition to Defendant’s Motion for

Summary Judgment and Plaintiffs’ Response to Defendant’s Statement of Uncontested Facts and

Additional Facts will not prejudice either of the parties, and will serve the interests of justice and

equity in this case.

        For the foregoing reasons, Plaintiffs respectfully request leave of this Court to file under

seal certain exhibits accompanying Plaintiffs’ Opposition to Defendant’s Motion for Summary
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Judgment, as well as the portions of Plaintiffs’ Opposition to Defendant’s Motion for Summary

Judgment and Plaintiffs’ Response to Defendant’s Statement of Uncontested Facts and

Additional Facts describing those exhibits.



Date: February 20, 2015                           Respectfully submitted,

                                                  _/s/_Robert L. Michels_________

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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that on February 20, 2015, a copy of the
foregoing was electronically filed with the Clerk of the Northern District of Illinois of the United
States District Court using the CM/ECF system and thereby served upon:

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                                                     By: /s/ _Kevin P. McCormick______
                                                        One of the attorneys for Plaintiffs
